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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                 4:06CR3062
          v.                        )
                                    )
ALEXANDER PRIETO,                   )
                                    )          MEMORANDUM AND ORDER
                  Defendant.        )
                                    )



     A hearing was held before me this date on allegations made
in the petition for action on conditions of pretrial release,
filing 96.     The defendant was present with counsel, and was
advised of his rights.     The defendant admitted the allegations in
the petition.    I therefore find that the allegations of violation
of the order of release are true.


     Regarding disposition, the government sought detention.
Defendant proposed that he have time for another proposal for
release, and requested release pending that.            I find that
detention pending that proposal is more appropriate.


     IT THEREFORE HEREBY IS ORDERED,
     The previous order of release, filing 14, is revoked, and
the defendant shall be detained in the custody of the United
States Marshal until further order.

     DATED September 25, 2006.

                                   BY THE COURT

                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
